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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             August 28, 2023


Ms. Karen S. Mitchell
Northern District of Texas, Fort Worth
United States District Court
501 W. 10th Street
Room 310
Fort Worth, TX 76102

      No. 22-10077 consolidated with 22-10534
                U.S. Navy SEALs 1-26 v. Biden
                     USDC No. 4:21-CV-1236
                     USDC No. 4:21-CV-1236


Dear Ms. Mitchell,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court’s opinion.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Melissa B. Courseault, Deputy Clerk
                                  504-310-7701
cc:
      Mr. Michael Berry
      Mr. Thomas S. Brandon Jr.
      Mr. Justin E. Butterfield
      Mr. Talmadge Butts
      Ms. Sarah Wendy Carroll
      Mr. Matthew James Clark
      Ms. Sarah Jane Clark
      Ms. Deborah Jane Dewart
      Mr. John Allen Eidsmoe
      Mr. David J. Hacker
      Ms. Heather Gebelin Hacker
      Mr. Thomas Franklin Harkins Jr.
      Mr. Jeffrey Carl Mateer
      Mr. Justin Lee Matheny
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Mr. Daniel Nolan Nightingale
Ms. Holly Mischelle Randall
Mr. Franklin D. Rosenblatt
Mr. Casen Ross
Mr. Hiram Stanley Sasser III
Mr. Charles Wylie Scarborough
Mr. Kelly J. Shackelford
Mr. Ilya Shapiro
Mr. Andrew Bowman Stephens
Mr. Lowell V. Sturgill Jr.
Mr. Jeffrey Scott Wittenbrink
Mr. Frederick R. Yarger
